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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED PEOPLE,


                    Plaintiff,
                                                  Civil Docket No. 20-cv-2295 (EGS)
        v.

 UNITED STATES POSTAL SERVICE, et
 al.,


                    Defendants.


                                    NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that Defendants, the United States Postal Service and

Louis DeJoy, in his official capacity as Postmaster General of the United States Postal Service,

appeal to the United States Court of Appeals for the District of Columbia Circuit from this

Court’s October 10, 2020 Order and Memorandum Opinion (Docket Nos. 31 and 32).
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Dated: December 9, 2020     Respectfully submitted,

                            JEFFREY BOSSERT CLARK
                            Acting Assistant Attorney General

                            ERIC R. WOMACK
                            Assistant Director, Federal Programs Branch

                            /s/ John Robinson
                            JOSEPH E. BORSON
                            KUNTAL CHOLERA
                            ALEXIS ECHOLS
                            DENA M. ROTH
                            JOHN ROBINSON (D.C. Bar No. 1044072)
                            Trial Attorneys
                            U.S. Department of Justice
                            Civil Division, Federal Programs Branch
                            1100 L. Street, NW
                            Washington D.C. 20005
                            (202) 616-8489
                            john.j.robinson@usdoj.gov

                            Attorneys for Defendants




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